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    8
    9                       UNITED STATES DISTRICT COURT
   10                 CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION

   11
   12 TRACY CHAPMAN,                                       Case No. 2:18-cv-9088-VAP-SS

   13                     Plaintiff,                       Judge: Hon. Virginia A. Phillips

   14               vs.                                    DEFENDANT ONIKA MARAJ'S
                                                           RULE 68 OFFER OF JUDGMENT
   15 ONIKA TANYA MARAJ p/k/a NICKI
      MINAJ and DOES 1-10,
   16                                                      Date Filed:          October 22, 2018
                Defendants.                                Disc. Cutoff:        July 29, 2020
   17                                                      FPC:                 February 22, 2021
                                                           Trial Date:          March 2, 2021
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        1717358.1                                                         Case No. 2: l 8-cv-9088-V AP-SS
                              DEFENDANT ONIKA MARAJ'S RULE 68 OFFER OF JUDGMENT
Case 2:18-cv-09088-VAP-SS Document 84 Filed 01/07/21 Page 2 of 3 Page ID #:1513




    1               Pursuant to Rule 68 of the Federal Rules of Civil Procedure, defendant Onika
    2 Tanya Maraj ("Defendant") hereby offers to allow entry of judgment as follows:
    3               Judgment shall be entered in favor of plaintiff Tracy Chapman and against
    4 Defendant in the amount of $450,000, inclusive of all costs and attorney fees
    5 incurred to date.
    6
    7 DATED: December 17, 2020                     BROWNE GEORGE ROSS
                                                    O'BRIEN ANNAGUEY & ELLIS LLP
    8
                                                      Peter W. Ross
    9                                                 Eric C. Lauritsen
   10
                                                   By:       Isl Peter W Ross
                                                         ~~~~~~~~~~~~~~~~




   11                                                         Peter W. Ross
                                                   Attorneys for Defendant Onika Tanya Maraj
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        1717358.1                                   - 1-                  Case No. 2: l 8-cv-9088-V AP-SS
                              DEFENDANT ONIKA MARAJ'S RULE 68 OFFER OF JUDGMENT
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    1                                 PROOF OF SERVICE
    2                         Chapman v. Maraj p/k/a Nicki Minaj
                                 USDC Case No. 2:18-cv-9088
    3
        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    4
             At the time of service, I was over 18 years of age and not a party to this
    5 action. I am employed in the Coun!)' of Los Angeles, State of California. My
      business address is 2121 Avenue of the Stars, Suite 2800, Los Angeles, CA 90067.
    6
             On December 17, 2020, I served true copies of the following document(s)
    7 described as DEFENDANT ONIKA MARAJ'S RULE 68 OFFER OF
      JUDGMENT on the interested parties in this action as follows:
    8
        John M. Gatti, Esq.                          Attorneys for Plaintiff
    9   Maura K. Gierl, Esq.                         Tracy Chapman
        Lauren J. Fried, Esq.
   10   MANATT, PHELPS & PHILLIPS, LLP
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        Email: . j_gatti@manatt.com
   13          mg1erl@manatt.com
               lfned@.manatt.com
   14
             BY MAIL: I enclosed the document(s) in a sealed envelope or package
   15 addressed to the persons at the addresses listed in the Service List and placed the
      envelope for colfection and mailing, following our ordinary business practices. I am
   16 readily familiar with the practice of Browne George Ross O'Brien Annaguey &
      Ellis LLP for collecting and processing correspondence for mailing. On the same
   17 day that correspondence is placed for collection and mailing, it is deposited in the
      ordinary course of business with the United States Postal Service, in a sealed
   18 envelo2e with postage fully prepaid. I am a resident or employed in the county
      where the mailmg occurred. Tlie envelope was placed in tfie mail at Los Angeles,
   19 California.
   20        BY E-MAIL OR ELECTRONIC TRANSMISSION: On December 17,
      2020, I caused a copy of the document(s) to be sent from e-mail address
   21 aaugustine@bgrfirm.com to the persons at the e-mail addresses listed in the Service
      List. I did not receive, within a reasonable time after the transmission, any
   22 electronic message or other indication that the transmission was unsuccessful.
   23       I declare under penalcy of perjury under the laws of the United States of
      America that the foregoing is true and correct and that I am employed in the office
   24 of a member of the bar of this Court at whose direction the service was made.
      Executed on December 17, 2020, at Los Angeles, California.
   25
   26
   27
                                                    Andrea A. Augustine
   28
        1717358.1                                                   Case No. 2: l 8-cv-9088-V AP-SS
                        DEFENDANT ONIKA MARAJ'S RULE 68 OFFER OF JUDGMENT
